         Case 1:25-cr-00010-TSC                 Document 1-1           Filed 01/15/25          Page 1 of 2




                                          STATEMENT OF FACTS

        Your affiant,               is a Special Agent with the Federal Bureau of Investigation –
Indianapolis field office. In my duties as a Special Agent, I am responsible for investigating
criminal violations. As a Special Agent, I am authorized by law or by government agency to engage
in or supervise the prevention, detection, investigation, or prosecution of a violation of Federal
criminal laws. I am also responsible for apprehending wanted fugitives where appropriate.

        On July 21, 2021, the Federal Bureau of Investigation arrested Antony Vo (“Vo”) in
Bloomington, Indiana on charges related to his actions at the United States Capitol on January 6,
2021. On September 22, 2023, a jury of his peers found Vo guilty of violating 18 U.S.C. 1752(a)(1)
(Entering or remaining in a restricted building or grounds), 18 U.S.C. 1752(a)(2) (Disorderly or
disruptive conduct in a restricted building or grounds), 40 U.S.C. § 5104(e)(2)(D)(Disorderly and
disruptive conduct in a Capitol building or grounds), and 40 U.S.C. § 5104(e)(2)(G) (Parading,
Demonstrating, or Picketing in a Capitol Building). On April 10, 2024, Judge Tanya S. Chutkan
of the United States District Court for the District of Columbia sentenced Vo to 9 months of
imprisonment followed by 12 months of supervised release. Judge Chutkan permitted Vo to self-
surrender for his sentence at the behest of the District of Columbia Probation Office. 1

        The Probation Office initially ordered Vo to report to the Bureau of Prisons Federal
Medical Center (FMC) – Lexington. The Probation Office set Vo’s report date for June 4, 2024,
and successfully communicated with Vo over the phone to apprise him of his surrender date and
location. During this call with Probation, Vo confirmed his contact information, including his
email, and Probation subsequently emailed Vo a “Notice of Designation and Date to Report” letter
dated May 22, 2024, advising him of his surrender date.

        Thereafter, on May 29, 2024, Vo filed a motion to delay his self-surrender to June 14, 2024,
based on a prescheduled surgical procedure. On May 31, 2024, Judge Chutkan granted Vo’s
request for an extension of time and required Vo to report to the Bureau of Prisons by June 14,
2024. 2 Vo’s attorney contacted probation on June 13, 2024, via email, seeking to confirm Vo’s
June 14, 2024, surrender date. Probation confirmed the June 14, 2024, surrender date during this
correspondence and advised Vo’s attorney that Vo was to surrender as ordered by the Court the
next day.

      Vo did not self-surrender to the Bureau of Prisons as ordered. 3 Instead, Vo fled to Canada. 4
Based on his failure to self-surrender, the United States Probation Office for the District of

1
  At his sentencing hearing on April 10, 2024, Vo signed an acknowledgement of the Voluntary
Surrender Instructions in the presence of United States Probation Officer Haley Spicer.
2
  On June 12, 2024, days before his scheduled report date, Vo filed a motion for release pending
appeal and for another extension of his reporting date. On June 13, 2024, Judge Chutkan denied
this request and required Vo to report to the Bureau of Prisons the following day on June 14, 2024.
3
  In an interview with the New York Times podcast “The Daily” that aired on January 6, 2025, Vo acknowledged not
reporting to prison, as ordered, and in response to the interviewer’s question about this decision stated, “[A] couple of
my heroes were like Edward Snowden, Julian Assange, like all these people who had to flee to find safety or
whatever.”
4
  Authorities are unaware of the date and location of Vo’s entry in Canada after his failure to surrender. U.S. Customs
and Border Protection and the Canada Border Service Agency do not have any record of Vo crossing the border into
Canada prior to his arrest in Canada on January 6, 2025.
        Case 1:25-cr-00010-TSC            Document 1-1          Filed 01/15/25       Page 2 of 2




Columbia petitioned the Court for a warrant on July 2, 2024. Thereafter, the United States District
Court for the District of Columbia issued an arrest warrant for Vo on July 2, 2024.

       Following the issuance of the arrest warrant, the United States Marshal Service and the
Federal Bureau of Investigation undertook efforts to track and locate Vo. On September 5, 2024,
the FBI confirmed Vo’s presence in Edmonton, Canada. 5

       On November 20, 2024, wishtv.com, a television station in Indianapolis, Indiana,
published an interview with Vo conducted over Zoom. 6 During the interview, Vo acknowledged
taking part in the Capitol riot and advised that he has applied for “refugee status” in another
country. Vo declined to advise where he was located.

        On November 30, 2024, the FBI engaged Canadian authorities for verification of Vo’s
entry into the country. During these communications, the FBI apprised Canadian authorities of
Vo’s unlawful presence in Canada and the existence of an active warrant.

       On December 27, 2024, wishtv.com published another interview with Vo. In this interview,
Vo stated that he was attempting to escape prosecution by undergoing the asylum process in
Canada. He intended to remain in Canada anticipating a change in policy in the incoming
administration.7

        On January 6, 2025, the Canadian Border Services Agency (CBSA) took Vo into custody
for an alleged illegal entry into the country. His removal proceedings remain ongoing.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Antony Vo violated 18 U.S.C. § 3146(a)(2), which makes it a crime to fail to surrender for service
of a sentence pursuant to a court order.



                                                          Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 15th day of January 2025.

                                                          ___________________________________
                                                          HONORABLE G. MICHAEL HARVEY
                                                          U.S. MAGISTRATE JUDGE




5
  On November 15, 2024, the FBI identified an active “X” account associated with Vo: @antonyvo4prez
with listed moniker “Antony Vo.” The FBI subsequently observed the following language posted to the
publicly available biographical portion of this profile: “J6 wrongful convict, fugitive/Convention Refugee.”
6
  See https://www.wishtv.com/news/i-team-8/jan-6-fugitive-from-indiana-expects-pardon-from-trump/
7
  See https://www.wishtv.com/news/i-team-8/jan-6-riot-defendant-canada-asylum/
